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                                                            FILED: September 9, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                   Defendant - Appellant


                                     ___________________

                                          O R D E R
                                     ___________________

              The Court grants the motion to extend filing time and

        extends the briefing schedule as follows:

        Opening Brief and Appendix due: October 12, 2010

        Response Brief due: November 3, 2010

        Any Reply brief: 10 days from service of Response Brief.

        Further requests for extensions of time will be disfavored.



                                             For the Court--By Direction

                                             /s/ Patricia S. Connor, Clerk
